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                              UNITED STATES DISTRICT COURT
                                         IN THE                       ,
                              SOUTHERN DISTRICT OF FLORIDA
                                                                                      D.C.

ROCERIO CHAVES SCOTTON    )                                           MX 2C 2019
                Movant, ) )                                           ktxs juytj
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                          )
          vs.             )              CASE NO : 17-CV-62428
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                          )
UNITED STATES 0F AMERICA, )
              Respondent. )
                          )



              MOVANT'S MOTION REQUESTINC RELEASE PENDING RESOLUTION TO
              HIS SECT ION 2255 OR ALTERNATIVE T0        HOME CONFINEMENT F0R
                                     GOOD CAUSE


      Comw now, the Movant Rogerio Chaves Scotton, by and through pro se, respectfully
 moves this Honorable Court with this motion to requesting release pending a resolution of

 his j 2255 or the alternative to home confinement for good cause. In support of this
 motion, the Hovant stated as follows:




                                    1. INI'RODUC IY



     1) During almost five years of having been denied due process, on Harch 2O, 2019,
 District Court Judge Federico A. Moreno was removed from the Movant's case pursuant to 28

 U.S.C. j 144 and 28 U.S.C. j 455 because his inappropriate actual and apparent bias. As
 resulted the Hovant's constitutional rights to a fair judicial process were violated.
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    2) The Judge's recusal establishes that the Hovant's constitutional were violated.
As result, those violations cannot be reversed. In fact, unlawful the judge denied the
Movant's j 2255 on December 28, 2017 which cause two years delay for Movant's j 2255 be
review.

    3) Movant's j 2255 raised substantial claims that is likety to result in reversal of
this conviction.

          lhe Hovant has already served seven years in prison as result of these
orchestrated prosecution and violations that occurred during pretrial, trial, sentencing,
appeal and throughout this case.

    5) The remain of the term imposed by the Court is coming to an end with the balance
to Hövant's sentencing being 8 months (counting seven days of GCF under first step act).
    6) The Movant is not considered a flight risk or poses danger to the safety of any
person or any danger to the community upon release.

     7) The Movant has longer ago acknowleged 1CE detainer which was lodged on May 28,
2012. On Many occasion the Movant have attempted to prosecute such detainer by sent
numerous certified letter to ICE-ERO Savannah, ICE-ERO Atlanta, ICE-ERO Miami, ICE-ERO
Okland Park and ICE-ERO Virginia. The Movant never receive any response. Ihus, the
ICE detainer was not lodged with the intention to remove. Rather was lodged for

prosecution purpose. However, ICE violated the detainer act and failed to comply and/or
prosecute such. Therefore, this should not be used maliciously *as excuse to n;rrelease.


          II. WHETHER MOVANT IS ENTITLED T0 RELASE BASED 0N HIS SPBSTANTIAL
             CLAIMS SET FORTH PNDER HIS j 2255 AND BASED ON SHOVS BIAS BY
             JUDGE MORENO .

     The Hovant contends that the Court should release him based on the claims set forth
in his û 2255, the proven bias and unlawful conduct show by Judge Moreno and the remaining
of his sentencing imposed. Or the Court should consider the alternative to place the

Hbvant in home confinement pending a resolution of his j 2255.


                                         (2)
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    During the past five years, Judge Horeno denied the Movant his rights to due
process. Numerous motions and request for relief were denied without proper review,
explanation by law or even have requested the government to respond.
    There is a reasonable chance that the Hovant would have been give some relief had
the Court not engaged in such vindictive bias. Specialy during the direct appeal when the
Sentencing Commission made changes to the financial table pursuant to amendment 791.
     Nonetheless, this court should consider the Hovant release under home confinement
because the Court knows that the Movant is not likely to flee after having served a
substantial amount of time of the imposed sentence. The remain of eight months is shortly

even takes in consideration the normal time to review application under j 2255.
     Ihe Movant poses no danger to the community or the safety of any person if released.
And the violalion in this case, combine with the unlawful conduct of Judge Moreno over
the past five years     this case, is likely to result in reversal, or a new trial or

complete dismissal of this orchestrated prosecution.
     Since the numerous unlawful conduct set forth under this j 2255 as well as Judgeîs
unlawful conduct, the Movant right to be released or to be placed to a home confinement
should not be simply discretionary but rather mandatory. UNITED STATES v. ABUHAMRA, 389

F.3d 309, 319 (2nd cir. 2004)9 UNITED STATES v. ENGLISH, 629 F.3d 311-370(2nd cir. 2001).


            111. WHETHER MOVANT POSES RISK OF FLIGHT OR DANCER TO THK .
                 COMMPNITY
     There can be no dispute that the Movant who has no prior criminal history, has lived
in the United States for more than 30 years an have family here, poses a flight risk.
Thus, he is entitle to be release.
     The Movant does not poses any danger to any person or any danger to the community.
This case has no drugs, violence, nor weapon involved. In fact, the Movant was involved
in help the community on many occasions as a professional race car driver.
     From the Court's perspective and the issue presented in the j 2255, there would't
be any contest as to the factor that the remainder of the Movant's sentence is short
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 after more than 82I served. Thus, the record reflects Movant's determination to clear his

 nane from the alleged offense. However, denying release pending resolution to his j 2255
 which he raises substantial grounds for reverse, may force the Movant to serve the

 rpmnining of the term which was imposed in violation of constitutional rights.
      This Court can clearly see that numerous ruling        this case were made without
 proper explanation or allowing the Movant due process. Worse yet, those ruling were made
 unlawful and by an impartial bias Judge. Combine with the violations set forth in this
 case, the Movant constitutional rights were seriously violated.



               IV. THE MOVANT j 2255 RAISES SUBSTANTIAL CLAIMS OF
                    CONSTITUTIONAL VIOLATION AND EXTRAORDINARY AND
                    EXCEPTIONAL CIRCUMSTANCES TO EXIST FOR RELEASE


    The Hovant contends that in this case, release is warranted pending resolution

his j 2255 because raises substantial constitutional claims upon which he has hight
probability of success. And, extraordinary and exceptional circumstance exist because the
Movant was denied the proper medical attention and only given the option prescription

pain killer and injections for his continued chronic back and psychiatic injury. Pysical
therapy is needed as was suggested by Dr. Thomas. However, the for profit facility does
not offer the option and has refuse to transfer the Movant to a medical facility.
     Furthermore, there is an exceptional circumstances for the Court to take into

consideration which is 1) the romainig of Movants terms is short and 2) that he has
endure substantial bias during almost five years by the previous Judge which prevented
him from receiving relief. Thus, exceptional circumstances exist which make the granting
of release necessary to make the habeas corpus remedy effective. CXLLE v . CAIJAWAY, 496

F.2d 707, 7O2 (5th cir. 1974)(per curiam). See also, GLY:N v. DONNH .
                                                                    I.
                                                                     Y, 47O F.2d 93 (1st
cir. 1972)9 WOODCUCK v. DONNH ,
                              I.
                               Y, 47O F.2d 93 (1st cir. 1972)9 BFNSON v. CALIFORNIA, 328
F.2d 159, (9th cir. 1969), cert. denied, 38O U.S. 951, 85 S. Ct. 1080, 13 L. Fd. 2d 9709
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BOYER v. cllY, 4O2 F.2d, 966 (5th cir. 1968)) BAKER v. SAND, 137 U.S. App. D.C. 139, 42O
F.2d 1342 (1969).
    The Movant rpmnining sentence is less than eight months, this should be considered
as extraordinary reason for release so to make his collaterial review truly effective.

NOYD v. BOND, 395 U.S. 683, 689, 89 S. Ct. 1876, 23 L. ed. 2d 631 (1965)(all but two days
of one year sentence served).

          v. MOVANT'S CLAIMS UNDER HIS j 2255 EAISES SUBSTANTIAL QUESTION


      A   sunstantial question       is ''one of more substance          that would be
necessary to finding that            was not frivolousIfy         fl
                                                                   close question91 or
an order for a ''new trial'' cannot reasonably be construed to require the Court to predict
the probability of reversal. This Court is not to be put in the position of ''M olqnakers''

who trade on the probability of ultimate outcome. Rather, the language must be read as
going to the significance of the sunstantial issue to the ultimate disposition of appeal.




    Ihe Movant in this case were denied his guarantee rights to a effective assistance
from five court appointed attorneys. No investigation was conducted by the attorneys in
this case nor any witnesses interviewed. Discovery were not inspected and investigation
of the sunnary for accurance was never conducted.
     The Hovant was denied due process during his direct appeal process including when
his attorney refused to file as requested motion to release pending appeal, the claim
regarding amendment 791 which would have resulted in the reduction of two levels from the
Hovant's sentencing guideline, refusal to included in his appeal brief that the Hovant

compulsory rights to introduce witnesses were violated by the trial judge and by the
agent Vanbrunt who when to one crucial witness house and threatened the witness nothing
but troubling and la ter prevented the witness from entered the Courthouse.
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    The attorney also refused to challenge the alleged offense under          1341 and the

indictment which fail to statean offense (see memorandum of law).
    The Movant contends that the court has not properly handled this case which leaded
to this unfair process.
    Worse, almost five year he was denied a1l and any opportunity to relief or to prove

his innocence because unlawful bias conduct care by the judge in this case.
    lhe Movant has served a substantial portion of the sentence imposed, if not all in

this particular case. Combine the bias conduct care out by the judge, the claims set
forth on the Movantîs j 2255 and the Hovantfs r/mnin terms, it is likely to result in
reversal, a new trial or dismissal of the case. Howevery if it takes the normal time for
this Court to make a decision, the Movant will be force to serve the entire term of his
sentencing ddch was imposed under seriously consitutional rights Thus, will make this j
2255 nugatory and worthless.
     Ihe ground set forth in the Movantîs S 2255, the violations caused by bias are
substantial in nature. And where such grounds and applicable law creates this potential
for reversal, expecially when the Movant remaining sentence is short, to deny release
pending this habeas corpus may be, as previous indicated, is to compel the Movant to
serve his entire sentence which is imposed in violatons of the U.S. constitutional
rights. Thus, makes the appeal nugatory and worthless. UNITED STATES v . GARCIA, 34O F.3d

1013, 1019 (9th cir. 2003). See also, GUFPA v. UNITED STATES, n. 12-4448.
     It is obviously clear and convicing that          this case, the Movant bas been
wrongfully convicted and receive a harsh punishment because his unprofessional conduct as
pro se litigant and for exercising his substantial rights. The Movant has no prior
criminal record and has been involved in the community as record shows.
     This Court should take into account the nature and seriousness of danger to any
person or danger to the community that would poses by releasing him is, and has been
found to be, inconsequential, if not, completely unfounded. Ihe offenses alleged are not



                                            (6)
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crime of violence nor do they involve narcotic drugs. The Hovant has lived in the United
States over three decates and has been a community leader.
    There can be no reasonable explanation to why the Hovant receive such harsh sentence
above of the sentence guideline in a criminal history 1 rather then bias. To cite an

example of the injustice the Hovant receive in this case, in UNITED STATES v. COLE, case
number, 12-2663, this defendant plea guilty to the charge of mail fraud pursuant to j
1341 and his guideline level was 30 after receiving three level reduction for acceptance
   responsability with a criminal history                   that took him to 121-151 term of
imprisonment. This defendant was sentenced to 84 months imprisonment.
     In this case, the Hovant was sentenced to the top of the guideline which was 87-108
months, as criminal history 1.
     In UNITED STATES v . BYRON ALFONSON GONZALES-GONZALES, case numbery 113 C1:15-2073-
CR-KMW-OS, this defendant was granted bail even know he was illegal in the United States.
The Movant in the other hands was denied.
     Nonetheless, the Court should grant this motion for release because in this case a

miscarriage of justice occurred.

                                     VI. CEICLPSION

    Rherefore, the Movant Rogerio Chaves Scotton moves this Court to request to be

release in the interest of justice and without any further delay. The Movant request the
court for the alternative to a home confinement.


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                                               D . M Y JAMES C.F .
                                               P.O. BOX 2000
                                               FOLKSTON GA 31537
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                               PROOF OF SERV ICE



     I Rogerio Chaves Scotton , do certify that on this May 14 , 2019,
have served that attached motion to release pending j 2255 (which is under
the Movant's constitutional rights) on the Southern District of Florida in
the above proceeding .     have served this motion via , United States Postal

Service (USPS) certified mail through,             Ray James C.F. legal mail.




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